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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION


In re                                                       Chapter 11

ALL AMERICAN SEMICONDUCTOR,                         Case No. 07-12963-BKC-LMI
INC., et al.,                                             (Jointly Administered)

                           Debtor.         /

AASI CREDITOR LIQUIDATING TRUST,
By and Through Kenneth A. Welt, Liquidating
Trustee, pursuant to the confirmed Third Amended
Plan of Liquidation of The Official Committee
of Unsecured Creditors,

                              Plaintiff,

v.                                                          Adv. Pro. No. 09-1466-LMI

Global Group Technologies, Inc., Global Systems
Integration, Inc., Precision Software, Limited,
Data Systems International, Inc.

                           Defendants.         /

               MOTION TO LIFT STAY AND TO DISMISS THIRD
        AMENDED COMPLAINT AGAINST DATA SYSTEMS INTERNATIONAL

        Data Systems International (“DSI”) moves this Court to lift the stay entered on July 21,

2010, and pursuant to Bankruptcy Rule 7012, dismiss the Third Amended Complaint against DSI.

In support, DSI submits this Memorandum of Law.

                                       INTRODUCTION

        This adversary proceeding was filed against DSI on April 24, 2009, and has been pending

for almost 11 years. On July 21, 2010, the Court entered an order staying and abating the claims

of the AASI Creditor Liquidating Trust (“Trustee”) against DSI in favor of arbitration (the “Stay

Order”). Despite this Order allowing the Trustee to proceed in arbitration, the Trustee did not do



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so.   Rather, for years it continued litigation, including filing Second and Third Amended

Complaints against DSI and others. In fact, the Third Amended Complaint against DSI was filed

almost three years after the Stay Order.

        The Trustee claimed in the Second and Third Amended Complaints that he recognized the

claims against DSI are stayed, and that the inclusion of DSI in the Complaints was to preserve his

cause of action. However, as explained in detail later, even though these complaints were filed

after the case had been stayed, they contained significant new allegations against DSI that did not

appear in prior complaints.

        By August 2015, about four and a half years ago, the Trustee had resolved his claims

against the other 16 defendants in this matter. However, even though DSI was the sole remaining

defendant, the Trustee still did not initiate an arbitration against DSI during the many years since

the Stay Order, and since resolving all the other claims in this adversary proceeding.

        Now, almost ten years after the Stay Order, the Trustee is attempting to revive his claim

against DSI through an arbitration demand filed with the American Arbitration Association on

January 22, 2020. This extreme delay defies any reasonable expectations of DSI and the Court, is

prejudicial to DSI, and should be considered a “default” under the Federal Arbitration Act resulting

in a waiver of arbitration.1

        Thus, DSI requests the Court lift the Stay Order because the Trustee has waived his right

to arbitration, and then dismiss the Trustee’s claims against DSI based on a one year limitation

period in the contract between the parties. As will be explained, the Trustee’s claims against DSI

are barred by the one-year contractual limitation provision, the enforceability of which is actually


1
 DSI filed a Motion to Dismiss Amended Complaint Or For Abstention (in favor of arbitration), which led to the Stay
Order. However, DSI had no thought that AASI would wait another 10 years before initiating arbitration. After the
passage of years without any action by the Trustee, DSI had assumed at various times that the Trustee was no longer
pursuing the claim against DSI.


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the law of this case. In 2013, in this same adversary proceeding, the Court found that a similar

provision in a contract between AASI and defendant Oracle USA, Inc. barred the Trustee’s claims

against Oracle.

         A dismissal of the Trustee’s claims against DSI would provide for a complete resolution

of this adversary proceeding, and allow the parties to avoid the time and expense of arbitrating or

litigating claims that are time barred, and have other serious deficiencies beyond the contractual

time limitation provision.2

                                               BACKGROUND

    I.   The Trustee’s Factual Allegations

         The essence of the Third Amended Complaint involves the work on and alleged failure of

All American Semiconductor, Inc’s (“AASI”) ERP System, a new system designed to integrate

AASI’s business functions, such as sales, shipping, and ordering. Third Amended Complaint, ECF

#542, ¶¶ 19-20.

         AASI entered into a software license, services, and maintenance agreement (the

“Agreement”) with DSI in October of 2004. See Agreement, attached hereto as Exhibit A (also

previously attached to the Trustee’s Third Amended Complaint as Exhibit F). The Trustee

contends that in performing that Agreement, DSI, along with several other defendants, contributed

to the failure of AASI’s ERP System. Third Amended Complaint, ECF #542, ¶ 19. Specifically,

the Trustee alleges that DSI and the other defendants improperly allowed the ERP System to “go

live” on February 7, 2006, resulting in “devastating effects” that AASI “felt immediately.” Id.

¶ 84.



2
 DSI is not currently seeking dismissal on grounds other than the contractual limitations provision. However, several
other grounds exist for barring or limiting AASI’s claims against DSI, and are discussed later.



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           Based on that alleged failure under the Agreement, the Trustee brings claims against DSI

for Breach of Contract (Count V); Breach of Warranty (Count X); Strict Liability (Count XVI);

Negligence (Count XXI); Gross Negligence (Count XXVI), and Avoidance and Recovery of

Fraudulent Transfers (Counts XXVIII and XXIX).

    II.    The Agreement Between AASI and DSI

           The Agreement between DSI and AASI sets out certain agreed-upon limitations to the

parties’ obligations to one another. See Exhibit A.3

           First, most critically here, under Article XI(1) of the Agreement, the parties agreed that no

action may be brought more than one year after AASI knew or should have known of the alleged

breach of contract. Id. at Article XI(1). That section provides that: “No action arising out of or

related to this Agreement may be brought more than one (1) year after the claiming party knew or

should have known.” Id. As explained in detail herein, under this provision all of the Trustee’s

claims against DSI are barred as being filed outside the one-year contractual limitations period.

           Second, under Article VIII of the Agreement, the parties agreed that DSI’s maximum

liability is for the amount of the fees paid by the customer for the relevant products and/or services

giving rise to the liability (the total paid by AASI to DSI under the Agreement was approximately

$1.013 million):

            “Unless specifically set forth in this Agreement and except for (i) a breach of
           Article VI, (ii) any breach of Customer’s intellectual property rights, and (iii) the
           indemnification obligations of DSI under Article IX, DSI’s liability for damages
           under this Agreement shall be limited to the amount of the fees paid by
           Customer for the relevant Licensed Products, Maintenance Services or
           Training giving rise to the liability.”

           Id. at Article VIII (emphasis added).




3
    The Agreement specifies Delaware law governs disputes under it. Exhibit A, at Article XI(2).


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        Third, the Agreement provides that neither party can be held liable for indirect or

consequential damages, including damages for loss of good will, profits, or business interruption,

whether such claim is labeled tort or contract.

        “[I]n no event shall either party be liable for any indirect, special, multiple,
        exemplary, incidental, punitive or consequential damages including, without
        limitation, damages for loss of goodwill, profits, data, (or use thereof), or business
        interruption arising out of either party’s act or failure to act, whether such damages
        are labeled in tort, contract, or otherwise.”

        Id. at Article VIII.

III.    Procedural History

        AASI filed a Chapter 11 bankruptcy on April 25, 2007, more than 14 months after the “go

live” date of the ERP System. Third Amended Complaint, ECF #542, ¶ 9. On April 24, 2009,

almost two years later, the Trustee filed this action against DSI and 16 other defendants all

allegedly taking part in the ERP System’s downfall. The Trustee’s First Complaint, ECF #1. On

June 29, 2009, in response to the Amended Complaint, DSI filed its Motion to Dismiss or for

Abstention. ECF #143. On July 21, 2010, pursuant to an agreement between the parties, this

Court abated and stayed the adversary proceeding as to DSI, allowing the Trustee to seek

arbitration. ECF #287.

        However, a week later, on July 28, 2010, despite the fact the case against DSI had been

stayed, the Trustee filed a Second Amended Complaint against DSI and the other remaining

defendants. ECF #302. As explained later herein, the Second Amended Complaint contained

significant new allegations against DSI, none of which were present in the prior complaints.

        Then, on February 22, 2013, two and a half years later, the Trustee filed a Third Amended

Complaint against DSI and the other remaining defendants. ECF #542. The Third Amended




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Complaint repeated the new allegations against DSI that were not part of any complaint prior to

the Stay Order.

        The Trustee’s claims were ultimately dismissed with prejudice as to all defendants except

DSI. Most notably for purposes of this Motion, the Trustee’s claims against Defendant Oracle

USA, Inc. were dismissed with prejudice by the Court on contractual limitations grounds on

January 25, 2013. Memorandum Opinion on Defendants’ Motion to Dismiss, ECF #521.

        In that Opinion, this Court determined that the contract between AASI and Oracle

contained a one-year limitation period within which to bring claims relating to that contract. Id. at

9. The Court found that by the Trustee’s own allegations, “the causes of action against Oracle

accrued no later than, and probably before, the ‘Go-Live Date.’” Id. at 10. The Court concluded

that because the causes of action accrued no later than February of 2006, “any action against Oracle

relating to the [parties’ contract] had to have been brought prior to the Petition Date.” Id. at 11.

        As indicated previously, by August 2015, all claims against all of the other 16 defendants

involved in this adversary proceeding had also been resolved.4 DSI was the sole remaining

defendant. But the Trustee took no further action for almost five years.

        Finally, on January 22, 2020, nearly 11 years after filing its initial Complaint, the Trustee

filed an Arbitration Demand against DSI before the American Arbitration Association. A true and

correct copy of the Arbitration Demand is attached hereto as Exhibit B.




4
  As of the February 2013 Third Amended Complaint, four other defendants remained, but all such claims have since
been settled, the latest being the claims against CSS International, Inc. which were settled in August 2015. See ECF
#700 (settlement with GSI and GGI); ECF #755 (settlement with Precision Software Limited), and ECF #758
(settlement with CSS).


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                                           ARGUMENT

  I.    Standard of Review

        The decisions in Bell Atl. Corp, v. Twombly, 127 S.Ct. 1955 (2007) and its progeny have

clarified that to survive a motion to dismiss, a complaint must contain factual allegations “to raise

a right to relief above a speculative level on the assumption that all the allegations in the complaint

are true.” Id. at 1964-65; see also Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955, 974

n.43 (11th Cir. 2008).

        Complaints that rely on “labels and conclusions, and a formulaic recitation of the elements

of a cause of action” are not enough and cannot survive a motion to dismiss. Twombly, 127 S.Ct.

at 1965. Thus, this Court must not accept as true legal conclusions masquerading as factual

allegations. See Gunn v. Title Max of Alabama, Inc. (In re Gunn), 2008 WL 4216546 at *1 (11th

Cir. September 16, 2008).

        Also, although the analysis of a motion to dismiss is limited primarily to the face of the

complaint and attachments thereto, there are instances where the court may consider documents

outside of the four-corners of the complaint without converting the motion into one for summary

judgment. For example, where the plaintiff refers to certain documents in the complaint and those

documents are central to the plaintiff's claim, the court may consider the documents as part of the

pleadings without converting the motion into a Rule 56 motion. See Brooks v. Blue Cross and Blue

Shield of Florida, Inc., 116 F.3d 1364, 1368-69 (11th Cir. 1997) (citing Venture Assoc. Corp. v.

Zenith Data Sys. Corp., 987 F.2d 429, 431 (7th Cir. 1993)).

        A court may also take judicial notice of matters of public record without converting a Rule

12(b)(6) motion into one for summary judgment. See Universal Express, Inc. v. S.E.C., 177 Fed.

Appx. 52, 53-54 (11th Cir. 2006) (holding that district court could take judicial notice of filing in




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a separate lawsuit without turning motion to dismiss into one for summary judgment). Thus, this

Court can and should take judicial notice of earlier filings in this bankruptcy proceeding, including

all of the related adversaries, as well as the recent arbitration demand filed by the Trustee against

DSI. See Arbitration Demand, Exhibit B.

        We submit that the Third Amended Complaint is barred by the contractual limitations

provision in the Agreement, and the Court should dismiss the Third Amended Complaint as against

DSI.

 II.    Because the Trustee Has Waived the Right to Arbitrate, the Stay Should be Lifted,
        and the Action Dismissed

        Now, almost 14 years after its claimed cause of action against DSI accrued, and ten years

after the Court entered an order allowing the Trustee to pursue arbitration, the Trustee has belatedly

taken steps to attempt to initiate an arbitration proceeding. See Arbitration Demand, Exhibit B.

DSI strongly believes the Trustee has waived the right to arbitrate, and asks the Court to lift the

stay of proceedings, and dismiss this action with prejudice.

        The Trustee invoked the jurisdiction of the Court in 2009 by filing a Complaint against

DSI. The Trustee’s First Complaint, ECF #1. In 2010, the Court stayed the proceedings against

DSI, allowing the Trustee to initiate arbitration. ECF #287. The Trustee did not do so. Rather,

he continued to litigate against DSI.

        On July 28, 2010, after the stay order had been entered, the Trustee filed a Second

Amended Complaint against DSI. ECF #302. Such filing was inconsistent with the Stay Order.

Significantly, this pleading contained multiple new allegations against DSI.           For example,

paragraphs 183 to 193 contain allegations specific to DSI that were not a part of the prior

complaints. Id. ¶¶ 183-193.




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        But even then, the Trustee chose not to pursue arbitration. Rather, on February 22, 2013,

almost three years later, he filed a Third Amended Complaint against DSI. ECF #542. Then for

another seven years, the Trustee declined pursuing arbitration in favor of allowing his claims to

pend in this Court. By August 2015, all defendants in this action had been dismissed on the merits

(e.g. order dismissing Defendant Oracle, ECF #521), or had settled and been dismissed. Then, for

the next almost five years, the Trustee took no action to initiate arbitration, even though DSI was

the sole remaining defendant.

        The entry of a stay order is authorized by the Federal Arbitration Act:

                 If any suit or proceeding be brought in any of the courts of the
                 United States upon any issue referable to arbitration under an
                 agreement in writing for such arbitration, the court in which such
                 suit is pending … shall on application of one of the parties stay the
                 trial of the action until such arbitration has been had in accordance
                 with the terms of the agreement, providing the applicant for the
                 stay is not in default in proceeding with such arbitration.

        9 U.S.C. § 3 (emphasis added).

        In Johnson v. Retirement Plan of General Mills, Inc., No. 416CV00151TWPDML, 2018

WL 3630275 (S.D. Ind. July 31, 2018), the court stayed the litigation pursuant to Section 3 of the

FAA to allow arbitration. But the party failed to pay the AAA fees and initiate the arbitration

proceeding. On the motion of the other party, the court lifted the stay, stating:

                 …the eleven-month delay in initiating arbitration falls squarely
                 within § 3 as a default in proceeding with arbitration. The Plan’s
                 inaction has prejudiced Johnson in delaying a resolution of this case
                 on the merits.

        Id. at *3.

        In our case, the ten-year delay in initiating arbitration likewise falls within Section 3 as a

“default” justifying lifting the stay.

        A waiver of the right to arbitrate constitutes a default under Section 3 of the FAA:



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                 The term “default” has been construed as analogous in meaning to
                 the common-law term “waiver”.

        3 Fed. Proc., L. Ed. § 4:34 (2019).

        In Morewitz v. West England Ship Owners Mutual Protection and Indemnity Association

(Luxembourg), 62 F.3d 1356 (11th Cir. 1995), the Court considered waiver and default issues

under Section 3 of the FAA:

                 … the doctrine of waiver is not an empty shell. Waiver occurs when
                 a party seeking arbitration substantially participates in litigation to a
                 point inconsistent with an intent to arbitrate and this participation
                 results in prejudice to the opposing party. Price v. Drexel Burnham
                 Lambert, Inc., 791 F.2d 1156, 1158 (5th Cir. 1986). Prejudice has
                 been found in situations where the party seeking arbitration allows
                 the opposing party to undergo the types of litigation expenses that
                 arbitration was designed to alleviate. E.C. Ernst, Inc. v. Manhattan
                 Constr. Co., 559 F.2d 268, 269 (5th Cir. 1977), cert. denied, 434 U.S.
                 1067, 98 S.Ct. 1246-55 L.Ed.2d 769 (1978).

        Id. at 1366.

        The court also noted:

                 Although the Arbitration Act uses the term “default,” 9 U.S.C. § 3,
                 the case law on this subject employs the term “waiver.” See
                 generally 3 Fed.Proc., L.Ed. Arbitration § 4:24 (1981) (“the term
                 ‘default’ has been construed as analogous in meaning to the
                 common-law term ‘waiver’”).

        Id. at 1365, n.16.

        Apparently, the Trustee now realizes that his claims against DSI are barred by the

contractual time limit for asserting a claim, and he therefore seeks arbitration. See Exhibit A, at

Article XI(1) (contractually-agreed one-year limitation on claims). This Court considered similar

contractual time limitations when Oracle sought and the Court granted a dismissal with prejudice

of the claims against Oracle. See Memorandum Opinion on Defendants’ Motion to Dismiss, ECF




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#521. The Court dismissed the claims against Oracle based on a contractual time limitation on

initiating an action.

        A similar situation arose in Raeis Constructors, LLC v. Circle K Stores, Inc., No. 5:18-CV-

240-FL, 2019 WL 6826356 (E.D.N.C. Dec. 13, 2019), albeit between the parties to the agreement

in question. The Court’s observation is helpful:

                 It is thus a strong basis for default where, after proceeding with
                 litigation it commenced, a plaintiff seeks to compel arbitration of its
                 own claims. Indeed, “prior litigation of the same legal and factual
                 issues as those the party now wants to arbitrate results in waiver of
                 the right to arbitrate.” MicroStrategy, Inc., 268 F.3d at 250 (quoting
                 Doctor’s Assocs., Inc. v. Distajo, 107 F.3d 126, 133 (2d Cir. 1997)).
                 In this context, “prejudice … refers to the inherent unfairness – in
                 terms of delay, expense, or damage to a party’s legal position – that
                 occurs when the party’s opponent forces it to litigate an issue and
                 late seeks to arbitrate that same issue.” Doctor’s Assocs., Inc., 107
                 F.3d at 134; see, e.g., Mozingo v. S. Fin. Grp., Inc., 520 F.Supp.2d
                 725, 733 (D.S.C. 2007) (holding plaintiff waived right to arbitrate
                 after defendants filed a motion to dismiss plaintiff’s claims).

        Id. at *8.

        When a party substantially invokes the litigation machinery, and acts inconsistently with

arbitration, it waives any right to arbitration. The Eleventh Circuit Court of Appeals has addressed

the issue of waiver of the right to arbitrate in its decisions. For example, in S & H Contractors,

Inc. v. A.J. Taft Coal Company, Inc., 906 F.2d 1507 (11th Cir. 1990), the Court said:

                 … a party that “[s]ubstantially invok[es] the litigation machinery”
                 prior to demanding arbitration may waive its right to arbitrate. Id. A
                 party has waived its right to arbitrate if, “under the totality of the
                 circumstances, the … party has acted inconsistently with the
                 arbitration right,” National Found. for Cancer Research v. A.G.
                 Edwards & Sons, 821 F.2d 772, 774 (D.C. Cir. 1987), and, in so
                 acting, has in some way prejudiced the other party, Miller Brewing
                 Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).
                 When determining whether the other party has been prejudiced, we
                 may consider the length of delay in demanding arbitration and the
                 expense incurred by that party from participating in the litigation
                 process. See Frye v. Paine, Webber, Jackson & Curtis, Inc., 877



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                 F.2d 396, 399 (5th Cir. 1989), cert. denied, 494 U.S. 1016, 110 S.
                 Ct. 1318, 108 L.Ed. 493 (1990).

        Id. at 1514.

        In that case, the delay in requesting arbitration was only eight months, as compared to ten

years in our case. In the eight-month period, two motions were filed, and 430 pages of depositions

were taken. The Court then ruled:

                 We conclude from these facts that, as a matter of law, Taft was
                 prejudiced by S & H’s delay in demanding arbitration and by its
                 invocation of the litigation process.

        Id.

        In our case, the parties filed motions and briefs concerning arbitration and a stay order was

entered. Additionally, three amended complaints against DSI were filed by the Trustee. Clearly,

the Trustee has substantially invoked the litigation machinery.

        In a later decision, Garcia v. Wachovia Corporation, 699 F.3d 1273 (11th Cir. 2012), the

Court of Appeals reiterated its ruling in S & H Contractors, and held that a delay of more than a

year together with discovery actions constituted an invocation of the litigation machinery, and thus

a waiver of the right to arbitration. Id. at 1277-78.

        These issues were also reviewed in Krinsk v. Suntrust Banks, Inc., 654 F.3d 1194 (11th

Cir. 2011). The Court again expressed the rule:

                 The invocation of the judicial process ordinarily establishes a waiver
                 of the defendant’s right to compel arbitration—i.e., such conduct
                 shows, in the normal case, that the defendant intends to elect a
                 judicial form rather than an arbitral tribunal. See Cabinetree of Wis.,
                 Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388, 390 (7th Cir. 1955)
                 (“[I]nvoking judicial process is presumptive waiver.” (emphasis
                 omitted)); see also Iowa Grain Co. v. Brown, 171 F.3d 504, 509 (7th
                 Cir. 1999) (discussing Cabinetree).

        Id. at 1203.




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        The Court enumerated the two-part test:

                 To determine whether a party has waived its contractual right to
                 arbitrate, courts apply a two-part test: “First, [they] decide if, ‘under
                 the totality of the circumstances,’ the party ‘has acted inconsistently
                 with the arbitration right,’ and, second [they] look to see whether,
                 by doing so, that party ‘has in some way prejudiced the other
                 party.’” Ivax Corp. v. B. Braun of Am., Inc., 286 F.3d 1309, 1315
                 (11th Cir. 2002) (quoting S & H Contractors, Inc. v. A.J. Taft Coal
                 Co., 906 F.2d 1507, 1514 (11th Cir. 1990)).

        Id. at 1200.

        The question of whether a party has been prejudiced is determined by the length of delay

and expense incurred:

                 In determining whether the party opposing arbitration has been
                 prejudiced, courts “consider the length of delay in demanding
                 arbitration and the expense incurred by that party from participating
                 in the litigation process.” S & H Contractors, 906 F.3d at 1514.

        Id. at 1201.

        In Pre-Paid Legal Services, Inc. v. Cahill, 786 F.3d 1287 (10th Cir. 2015), the Tenth

Circuit ruled that the stay to allow arbitration would be lifted when the party failed to pay the

arbitration fees and the proceeding was terminated. The Court held that “[f]ailure to pay arbitration

fees constitutes a ‘default’ under § 3 [of the Federal Arbitration Act].” Id. at 1294.

        The District Court of Appeals of Florida considered a contract which required that a

demand for arbitration must be made within “a reasonable time.” Bickerstaff v. Frazier, 232 So.

2d 190, 191 (Fla. Dist. Ct. App. 1970). The request for arbitration was made four months after the

cause of action arose, and two months after litigation was commenced. The trial court ruled that

the demand was not made within a reasonable time, and the appellate court affirmed the decision.

Id.




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         The court made a similar ruling in Lyons v. Krathen, 368 S.2d 906, 908 (Fla. Dist. Ct. App.

1979):

                 Although paragraph 7.10.2 provides that the demand for arbitration
                 shall be filed within a reasonable time, we find no abuse of
                 discretion on the part of the trial judge in determining that a motion
                 to compel arbitration filed more than nine months after the first
                 written notice of a dispute and four months after the decision of the
                 architects has not been filed within a reasonable time.

         And in Hardin International, Inc. v. Firepak, Inc., 567 S.2d 1019, 1020-21 (Fla. Dist. Ct.

App. 1990), the Court determined that both parties waived their right to arbitrate when they

delayed for three years while the litigation was pending.

         Another instructive decision is Allstate Insurance Company v. Gonzalez, 38 Cal. App. 4th

783, 790, 45 Cal. Rptr. 2d 491 (1995), in which the Court ruled that a delay of nearly three years

in demanding arbitration was an unreasonable delay, and that the party had waived the right to

arbitrate.

         In our case, the Trustee has acted inconsistently with arbitration. During the 10 years

following entry of the Stay Order allowing the Trustee to initiate arbitration, he did not take any

action to commence an arbitration proceeding, a procedure which is designed to hopefully reach a

speedy resolution of claims. Instead, it continued with its litigation strategy, even amending and

enlarging its claims against DSI by filing two amended complaints during a several-year period of

time.

         In considering whether the Trustee has waived his right to arbitration, the Court may

consider the unreasonable delay in pursuing arbitration. As illustrated above, other courts have

considered delays of time periods much less than ten years as unreasonable. See, e.g., Lyons, 368

S.2d at 906 (nine months unreasonable); Johnson, 2018 WL 3630275, at *3 (eleven months

unreasonable); Gonzalez, 38 Cal. App. 4th at 790 (three years unreasonable).



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        DSI has certainly been prejudiced by the delay. It has been a party to this litigation for

more than ten years, incurring attorney fee expenses. Clearly the work involved in locating

witnesses and presenting them would be more difficult after 14 years have elapsed from the time

of the events. All of this would have been prevented had the Trustee pursued arbitration ten years

ago when the Court allowed it to do so.

        The claims of the Trustee are barred by the contractual time limitation for filing claims set

forth in the agreement of the parties. The Trustee has waived his right to arbitrate by his continued

litigation strategy and actions. We urge the Court to lift the stay, and dismiss this action with

prejudice. The parties, and certainly DSI, should not be required to incur the expense and work

involved in an arbitration of time-barred claims.

III.    The Limitations Clause in the Parties’ Agreement Bars the Trustee’s Claims, As
        Established by the Law of the Case

        Each of the Trustee’s claims against DSI derives from the Agreement between the parties

and the work done by DSI for AASI under the Agreement. See Third Amended Complaint, ECF

#542, Counts V, X, XVI, XXI, XXVI, XXVIII, XXIX.

        Under that Agreement, AASI was required to bring all actions within one year after AASI

knew or should have known of the alleged breach by DSI. Exhibit A, at Article XI(1).

        In its Third Amended Complaint, the Trustee admits in numerous respects that that it

immediately felt the effects of the failed ERP System as of the February 7, 2006 “go live” date.

For example, the Trustee alleges that DSI and the other defendants improperly allowed the ERP

System to “go live” on February 7, 2006, resulting in “devastating effects” that AASI “felt

immediately.” Third Amended Complaint, ECF #542, ¶ 84.

        Thus, AASI would had to have brought its action against DSI at least by February 2007,

and yet it did not do so. AASI did file its Chapter 11 bankruptcy on April 25, 2007, and that would



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have acted to toll any statutes of limitations that had not yet run. However, because the contractual

limitations period ran at the latest in early February 2007, more than two months prior to the

bankruptcy filing, the limitations period could not be extended and the claims were barred.

        In any event, the Court need not make any assumptions or new findings on issues relating

to this contractual limitation provision, because it has already determined that this defense bars

similar claims in this proceeding. In 2013, the Court found that a similar limitations provision in

a contract between AASI and Defendant Oracle USA, Inc. barred all of the Trustee’s claims against

that entity. Memorandum Opinion on Defendants’ Motion to Dismiss, ECF #521.

        Initially, the Court found that the “clear and explicit” language of the License Agreement

between AASI and Oracle contained a one year statute of limitation period. Id. at p. 9. As

established, the Agreement between DSI and AASI contains a similar provision.

        The Court then found that the AASI-Oracle one year contractual limitations provision was

enforceable under California law. Id. at p. 10. In this case, the Agreement is governed by Delaware

law. However, just as in California, Delaware law recognizes that parties to a contract may agree

to a shorter statute of limitations. That choice is respected especially when both are large,

sophisticated entities. While a shortened period must be reasonable, Delaware courts recognize

“there are sound business reasons for such clauses, and [its] case law has long upheld such clauses

as a proper exercise of the freedom of contract.” ENI Holdings, LLC v. KBR Group Holdings, LLC,

2013 WL 6186326 (Del. Ch. Nov. 27, 2013). By way of example, the Court of Chancery enforced

a provision shortening the statute of limitations for breach of contract claims to one year. GRT,

Inc. v. Marathon GTF Tech., Ltd, 2011 WL 2682898 (Del. Ch. July 11, 2011). There is no doubt

a Delaware court would enforce the negotiated one-year limitation period in AASI and DSI’s

contract.




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         The Court then found that by the Trustee’s own allegations, “the causes of action against

Oracle accrued no later than, and probably before, the ‘Go-Live Date [of February 7, 2006].” ECF

#521, at pp. 10-11. As applied here, the Trustee’s allegations concerning AASI’s knowledge of

the ERP System’s failures also extend to DSI. The Court concluded that the Trustee failed to bring

claims against Oracle prior to February of 2007, and so were barred by the contractual limitations

provision. Id. at p. 11.

         These findings not only advise barring the Trustee’s claims—they require it. The law of

the case doctrine dictates that, “when a court decides upon a rule of law, that decision should

continue to govern the same issues in subsequent stages in the same case ... This rule of practice

promotes the finality and efficiency of the judicial process by protecting against the agitation of

settled issues.” In re Gurley, 357 B.R. 868, 878–79 (Bankr. M.D. Fla. 2006).

         Also, although not needed given the Court’s prior findings on when the alleged claims

accrued per the Trustee’s admissions in this adversary proceeding, it is noted that the Trustee

alleged in pleadings in other adversary proceedings within this bankruptcy that the failure of the

ERP system occurred at or around the time of the February 7, 2006 “Go Live Date.”

         For example, in paragraph 118 of the September 30, 2009 Amended Complaint against

former officers and directors of AASI, the Trustee stated that, “After going live, the Board

continued to receive frequent updates on the status of the ERP System failed implementation,

including its immediate negative effect on the company’s financial health, inventory, customer

and vendor relations and company morale.”5 See Amended Complaint in Adversary Case No. 09-

01465-LMI, attached hereto as Exhibit C, at ¶ 118 (hereafter “Goldberg Complaint”).


5
  The Court may take judicial notice of statements made in filings in other cases. Horne v. Potter, 392 F. App’x 800,
802 (11th Cir. 2010) (unpublished) (district court properly took judicial notice of pleadings and orders filed in the
plaintiff’s first case); Nagim v. Irving, No. 10–cv–01925, 2010 WL 4810815, at *3 (D. Colo. Oct. 19, 2010) (taking
judicial notice of pleadings filed by plaintiff in other cases). A court may consider matters properly subject to judicial


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         Also, in paragraph 122 of the Goldberg Complaint, the Trustee stated that “As early as

March, 2006, Flanders made the Board aware that the ERP System’s failed implementation had

such a severe negative impact that they would need to seek an amendment to All American’s credit

facility just to avoid being in default.” Id. ¶ 122.

         These statements regarding the culpability of the former AASI officers and directors

directly contradict their allegations against DSI in the Third Amended Complaint. Clearly, the

Trustee has stressed that February 2006 was the immediate tipping point, both for the ERP system

and for AASI as a whole, and that this event was obvious to every party involved. The Trustee

cannot now argue that AASI was ignorant of the wrongful act or injury at that time.

         In sum, under the law of the case, the Court has already determined that (1) AASI knew

about the ERP System’s failures as of February 2006, (2) AASI failed to bring its claims within a

year of that period, and accordingly (3) AASI’s claims are barred under any enforceable one-year

contractual limitations period. Because Delaware joins California in readily enforcing such

limitations periods, AASI’s claims against DSI should be barred as untimely.

         Thus, under the law of the case doctrine, and as a result of the various admissions by the

Trustee, this Court should dismiss with prejudice all counts against DSI as barred by the

contractual limitation provision in the Agreement.

IV.      The Trustee’s Claims Are Otherwise Barred or Limited.

         DSI is not currently seeking dismissal on grounds other than the one-year limitations

provision in the Agreement between the parties. However, DSI believes it is important for the

Court to be aware that there are several other reasons why the Trustee’s claims against DSI are

barred or limited.


notice in applying the Twombly standard. See, e.g., Williston Basin Interstate Pipeline Co. v. An Exclusive Gas Storage
Leasehold & Easement, 524 F.3d 1090, 1096 (9th Cir. 2008).


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     A. The Trustee’s Claims are Limited to Breach of Contract

        The Trustee asserts that DSI not only breached the contract in existence between the

parties, but that it negligently failed to warn AASI, otherwise committed acts of gross negligence,

and is strictly liable to plaintiff. However, any Claim made by the Trustee is limited to breach of

contract under the economic loss doctrine.

        As stated, the rights of the parties are determined by the Agreement made on October 29,

2004. See Exhibit A. Under Article XI(2) of the Agreement, all disputes are determined under

the law of the State of Delaware. Id. at Article XI(2).

        Under Delaware law, a party’s action for damages in a contract dispute is limited to a claim

for breach of contract. Under the economic loss rule, claims based on negligence and other similar

theories are not allowed. Delaware courts have adopted a strong form of the economic loss rule—

they prohibit “tortious breach of contract” theories in both product liability and non-products

contexts. Instead, a party claiming breach of a duty or obligation within a contract is limited to

contractual claims as its exclusive remedy. As a Delaware court explained,

        This rule is a judicially created doctrine “which prohibits a party from recovering
        in tort for economic losses, the entitlement to which flows only from [a] contract.”
        The rule requires a plaintiff to sue in contract and not in tort “where an action is
        based entirely on a breach of the terms of a contract between the parties and not on
        a violation of an independent duty imposed by law.” “While initially a doctrine
        related to product liability actions, the courts have expanded the doctrine's
        application beyond its original scope to any kind of dispute arising from a
        commercial transaction where the alleged damages do no harm to a person or to
        property other than the bargained for item.” “The driving principle for the rule is
        the notion that contract law provides a better and more specific remedy than tort
        law.” The rule “supports the ability of persons to allocate the risks of business
        transactions.” There are exceptions to the economic loss rule, however; they include
        “[c]laims of fraud, as well as other intentional torts.”




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         Israel Discount Bank of New York v. First State Depository Co., LLC, 2012 WL 4459802

(Del. Ch. Sept. 27, 2012) (internal citations omitted).6

         Moreover, this identical issue has already been decided by the Court in ruling on another

motion to dismiss in this adversary proceeding. The Court dismissed all negligence, gross

negligence, strict liability, and misrepresentation claims (the “tort claims”) against certain other

defendants based on the economic loss rule. Memorandum Opinion on Defendants’ Motions to

Dismiss, dated January 24, 2013, ECF #521, at pp. 11-17. While we believe all claims against

DSI should and will be dismissed because of untimely filing, all alleged tort claims are also subject

to dismissal under the economic loss doctrine.7

     B. The Trustee’s Claims Are Limited by Contract to the Amount of Fees AASI Paid to
        DSI

         The Third Amended Complaint claims several categories of extra-contractual damages,

such as compensatory, special, and punitive damages. See, e.g., Third Amended Complaint, ECF

#542, at ¶ 315. However, under Delaware law, and Article VIII of the Agreement, any claim is

limited to an alleged breach of contract, with an absolute maximum recovery limited to the fees

that AASI paid to DSI (approximately $1.013 million). See Third Amended Complaint, ECF #542,

Exhibit G (listing $1,013,410.76 in fees paid to DSI).




6
  The Trustee does not allege DSI violated an “independent duty”; indeed, the parties’ only relationship was
contractual. Delaware courts have explicitly prohibited the recovery of tort remedies that arise from allegations that
a party negligently performed contractual obligations. See J.W. Walker & Sons, Inc. v. Constr. Mgmt. Serv., Inc.,
2008 WL 1891385, at *1 (Del. Super. Feb. 28, 2008) (”The Court will not extend tort law into areas adequately
addressed by contract law.”). Delaware law is clear that AASI can only assert a breach of contract claim against DSI.
7
  The Court has already rejected what might be expected to be an argument by the Trustee that the economic loss rule
does not bar recovery because the defective product, the ERP System, caused damage to other property, AASI’s
goodwill. Memorandum Opinion on Defendants’ Motions to Dismiss, dated January 24, 2013, ECF #521, at pp. 12-
15) (“I find that the Seventh Circuit interpretation is consistent with Florida law. The damage to AASI’s goodwill and
the destruction of its reputation does not constitute damage to ‘other property’ for purposes of eliminating applicability
of the contractual economic loss doctrine, . .”).



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         Specifically, under Article VIII of the Agreement, the parties agreed to a mutual limitation

of liability. The Agreement reflects that DSI’s maximum liability under the Agreement is the

amount of fees paid by AASI for the relevant products and/or services giving rise to the liability.

Exhibit A, at Article VIII. Thus, even assuming arguendo the Trustee is able to establish that all

products and services provided by DSI under the Agreement failed and gave rise to liability, any

claim would be limited to a maximum of approximately $1.013 million in fees paid by AASI to

DSI.

         Also under the Agreement, neither party can be held liable for indirect or consequential

damages, including damages for loss of good will, profits, or business interruption, whether such

claim is labeled tort or contract. The Agreement between the parties expressly reflects this

understanding. Id.

         Delaware courts’ penchant to enforce contracts as written applies equally to limitation of

liability provisions. In a recent case, the Delaware court upheld a provision similar to the one at

issue here—it limited liability to amounts paid. RHA Constr., Inc. v. Scott Eng’g, Inc., 2013 WL

3884937 (Del. Super. July 24, 2013). And it does not matter whether the alleged negligence is

ordinary or gross negligence.8 The provision in DSI and AASI’s Agreement is equally clear. It

both limits liability to amounts paid and specifically disclaims the right to other forms of

damages—including those arising in tort. The Trustee thus will not be permitted to make a claim

for any amount greater than the $1 million it paid to DSI.




8
 Rob-Win, Inc. v. Lydia Sec. Monitoring, Inc., 2007 WL 3360036 (Del. Super. Apr. 30, 2007) (“Simply reading this
clause leads to the conclusion that the limitation of liability pertains to all claims, including gross negligence.”).



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     C. The Trustee’s Claims are Barred by the Doctrine of Judicial Estoppel

        The Trustee’s claims of wrongdoing by DSI are directly contradicted by his representations

to the Court, and so should be barred by the doctrine of judicial estoppel.

        On September 30, 2009, the Trustee brought a separate adversary proceeding against many

of the Debtors’ former officers or directors, blaming them for the failure of the ERP System. See

Exhibit C, Goldberg Complaint. This is the exact opposite of what the Trustee contends in his

Third Amended Complaint against DSI and the other vendors involved with the ERP system, and

notably, the lawyers for AASI in both actions were the same, although AASI apparently recently

retained new counsel in this matter.

        Specifically in the Goldberg Complaint, the Trustee alleged that AASI’s former Chief

Information Officer Gary Kirk “demonstrated greater loyalty to CSS than [the Debtor], at times

focusing frustration upon members of Management and siding with CSS when CSS was clearly

failing in its job to install and integrate the ERP System.” Exhibit C, ¶ 98.

        The Trustee also claimed in the Goldberg Complaint that the Debtor’s management failed

to follow the advice of the consultant defendants that the Trustee has sued in this action to

“properly learn to utilize the ERP System and new software.” Id. ¶ 102. The Trustee concluded

that this “failure to properly train was systemic and included failures in all departments and

operational functions of [the Debtor], including shipping, sales, marketing, operations, inventory,

and finance.” Id.

        According to the Trustee, this failure to follow the consultants’ advice turned out to be

fatal: “Certain of Management . . . were constantly insistent that the ERP System ‘go live’ by a

date certain regardless of whether the ERP System was ready for implementation. They were aware

at the time of the problems with the ERP System and were informed by at least certain of the




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consultants that the implementation would not be successful and certain elements were non-

operational.” Id. ¶ 106. “Despite all indications not to ‘go live’, on or about Feb. 7, 2006, each of

the then employed Management authorized or acquiesced to implementing the ERP System and

‘go live’.” Id. ¶ 111.

        Also, in another pleading in Goldberg, this time its Response to a Motion to Dismiss filed

by the defendants, the Trustee referred to the actions of the former directors and officers as

“egregious”, and placed blame for the failure of the company and bankruptcy on the former officers

and directors. The Trustee stated that “the Management Defendant’s actions regarding the

computer system implementation and their management of the post-implementation period are

what drove All American into insolvency.” See Plaintiff’s Response in Opposition to Defendants’

Dismissal Motions (D.E. 118, 123, 135, 138, 140, 153) and Memorandum in Support Thereof,

Adversary Case No. 09-01465-LMI, ECF #155, attached hereto as Exhibit D, at pp. 3-4.

        The Trustee further stated in this Response that “[t]he Management Defendants also

breached their duty of loyalty by failing to act in good faith when they consciously disregarded

their duties by intentionally ignoring the advice and warnings of experts and consultants that

implementation of the ERP System in February, 2006, would be not only premature but could

result in a catastrophic company-wide failure.” Exhibit D, ¶ 44.)

        These statements regarding the culpability of the former AASI officers and directors

directly contradict the Trustee’s allegations against DSI in the Third Amended Complaint. When

a party does so, the doctrine of judicial estoppel allows a court to exercise its discretion to dismiss

the party's claims. New Hampshire v. Maine, 532 U.S. 742, 750, 121 S.Ct. 1808 (2001).

        As a result, the Trustee should be barred from asserting the claims in the Third Amended

Complaint. See e.g., Slater v. United States Steel Corp., 871 F.3d 1174, 1180 (11th Cir. 2017)




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(judicial estoppel may be applied when the plaintiff “took a position under oath in the [prior]

proceeding that was inconsistent with the plaintiff’s pursuit of the [present] lawsuit” and she thus

“intended to make a mockery of the judicial system”).9

    V.   Conclusion

         Almost ten years after the Stay Order and years after this adversary proceeding has

otherwise been fully resolved, the Trustee has made one final attempt to revive its claim against

DSI through an arbitration demand. The Trustee’s attempt is not only procedurally deficient—

considering it is in “default” under the Federal Arbitration Act—it is substantively deficient in

several respects, most notably on limitations grounds that are the law of the case in this proceeding.

DSI requests this Court lift the Stay Order on grounds that the Trustee has waived its right to

arbitration, and then dismiss the Trustee’s claims against DSI based on failure to file within the

one year limitations period provided for in the Agreement between the parties.

Respectfully submitted,

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9
  It is also noteworthy in this regard that AASI ultimately settled the Goldberg adversary proceeding in exchange for
payment of $400,000. See Motion to Approve Compromise and Settlement Between Liquidating Trustee and D&O
Defendants and Modification of Fee Agreement and Payment Thereunder, Adversary Case No. 07-12963, ECF #2274,
attached hereto as Exhibit E, at ¶ 20(i). However, the parties whose conduct AASI had determined to be “egregious”
were allowed to retain significant claims against debtors which upon information and belief were or will be paid in
full. Id. ¶ 20(vii)). Also, in exchange for releases given under the Settlement Agreement, AASI procured the
cooperation of the officers and directors in connection with the prosecution of other claims. Id. ¶ 27.


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                               CERTIFICATE OF ADMISSION

        I HEREBY CERTIFY that I am a member of the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualification to

practice in this court as set forth in Local Rule 2090-1(A).

        I FURTHER CERTIFY that, in accordance with Local Rule 9011-4(A)(2)(b), attorneys

Mark Moedritzer, Jordan Dillon, and Antar Vaughan intend to seek admission to appear pro hac

vice in this matter.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 7th day of February, 2020, a true and correct copy of

the foregoing was filed and sent via electronic filing using the CM/ECF system with the Clerk of

the Court, which sent e-mail notification of such filing to all CM/ECF participants in this case, and

via regular US mail and/or e-mail to the following counsel for the Trustee:

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                                      By: /s/ John Lyons
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